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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

________________________________________________________________________

United States of America,                                  Criminal No. 11-141 (4) (RHK/JJK)

                       Plaintiff,

v.

James Nathan Fry,

              Defendant.
________________________________________________________________________


       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated February 13, 2012. No objections have

been filed to that Report and Recommendation in the time period permitted. Based on the

Report and Recommendation of the Magistrate Judge, and on all of the files, records, and

proceedings herein, IT IS ORDERED that Defendant James Nathan Fry’s Second Motion to

Dismiss Counts 25–27 (Doc. No. 82) is GRANTED.

Dated: May 15, 2012

                                                   s/Richard H. Kyle
                                                   RICHARD H. KYLE
                                                   United States District Judge
